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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             Case No. 8:04CR534
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                     ORDER
                                              )
MEGAN ANDERSEN,                               )
                                              )
                      Defendant.              )


       This matter comes on to consider the government’s motion for Rule 35 hearing. Filing No.
53. Having considered the matter,
       IT IS ORDERED that:
       1.   A hearing on the government’s motion is scheduled before the undersigned United
States district judge on December 29, 2006, at 2:00 p.m. in Courtroom No. 3, Roman L. Hruska
U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       2. Counsel for the defendant, if previously appointed pursuant to the Criminal Justice Act,
is reappointed to represent the defendant for purposes of the Rule 35(b) motion. If retained,
counsel for the defendant remains as counsel for the defendant until the Rule 35(b) motion is
resolved or until given leave to withdraw.
       3. The Clerk of the Court shall electronically serve a copy of this order on counsel for the
government, counsel for the defendant, and the Federal Public Defender.
       4. The defendant will be present for this hearing.
       DATED this 20th day of December, 2005.

                                              BY THE COURT:


                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
